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  EXHIBIT A
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R-2                                     United States of America                  Original: $20,000,000
                                                          Reissued as of February 28,2017
                                                                         February 28, 2017: $19,090,000

                                                    State of Ohio

                                Higher Educational
                                       Educational Facility Revenue Bond
                                 (The Notre Dame College
                                                   Collegg 2008 Project)
                                                                Project)

INTEREST    RATE: MATURITY
INTEREST RATE:    MATURITY DATE: / ORI INALLY              OF: REISSUED:
                                                  DATED AS OF:
                                        IN"A,LLY DATED           REISSUED:
      Variable
   Variable       September 1, 2039x. w
                            1,2039       ugus,t 28, 2008     February 28, 2017
                                                                      28,2017
                                ' ../'          •
              OWNER: BANK
REGISTERED OWNER:       BANK"OFOF A
                                        !

                                                                    *,rtr^
                                            /1.:1

         PRINC IPAL Amopir.
ORIGINAL PRINCIPAL  AMOI.'NT                                                   D'LLARS
                                                                NTY MI:LL;I€SN DOLLARS
                                  ," r4d

          AMOUNT
PRINCIPAL AMOUNT(                 -OF                     8, 2017t'              MILLION NINETY
                                                                        NINETEEN MILLION
                                                                        THOUSAND DOLLARS
                                                                                  DOLLARS
                                                        .,. a
                                                     '1,.'
          The   Ohio Higher Edueastip
          The Ohio                                   ility
                                                  aciJity    :Commission
                                                              Commission (the (the "Commission"), aa bodybody both
                                                                                                           o'State'o),
corporate and politic constituting      \air#geng'or instrumentality of the State of Ohio
                           constituting'qp.Sge4gy..or                                                 (the "State"),
for value received, promises to pay         01 -re.Registered Owner named above, or registered assigns,
                                       payil6ilhe..Registered
but solely
     solely   from   the
                      the sources and the/
                          sources  and   in thb;?nanner referred
                                                               referred to herein, the
                                                                                    the Principal
                                                                                         Principal Amount stated
                             Matwity Date, unless this Bond is called for earlier redemption, and to pay
above on the aforesaid Maturity
from those
from    those sources
                sources interest
                           interest thereon
                                     thereon atat the
                                                   the rate       per annum
                                                            rate per  annum determined
                                                                                determined as as described
                                                                                                 described herein.
Capitalized terms not otherwise defined in this Bond are used with the respective    respective meanings given to
them
them in in the
           the Trust
                 Trust Indenture described       below. Interest
                                    described below.          lnterest on
                                                                       on this
                                                                            this Bond
                                                                                 Bond shall
                                                                                        shall accrue  from but
                                                                                              accrue from    but not
including February 28,   28,2017.
                             2017. Interest on this Bond is payable (i) during any Weekly Rate Period,
the  first Business Day
the first               Day of each     month, (ii) during any
                                  each month,                      any Fixed
                                                                        Fixed Rate
                                                                                 Rate Period, each    March 11 and
                                                                                               each March
September 1,   l, (iii) during any Index Floating Rate Period, the first Business Day of each month
with the
with        first Interest
       the first   Interest Payment
                             Payment Date
                                        Date being
                                               being April April 1,1,2017,
                                                                     2017, and          during any
                                                                              and (iv) during   any Flexible Rate
Period, the first Business Day after the last day of each Flexible Rate Term.         Term. Any date established
for the payment of interest as described
                                      described above
                                                  above is hereinafter referred to     to as an
                                                                                             an "Interest
                                                                                                 "Interest Payment
Date." Interest accrued on the bond of the above-captioned issue issued on August
Date."                                                                                         August 1,   2013, of
                                                                                                         1,2013,
which this Bond is a reissuance, which is unpaid as of the             the Date of this Bond, shall be due and
payable on MarchMarch 1,    2017, notwithstanding the issuance of this Bond.
                         1,2017,                                                  Bond. The interest payable
                                                                                                         payable on
each
each Interest Payment Date   Date shall
                                   shall be
                                          be for the
                                                   the period commencing on the       the next preceding Interest
Payment Date to and including the day immediately
                                                immediately preceding
                                                                  preceding the Interest Payment Date on which
payment is made (except in the case of the first Interest Payment Date, for which interest shall be
payable
payable forfor the    period commencing
                the period    commencing on   on the
                                                   the Date       of Initial
                                                            Date of  Initial Delivery   to and
                                                                              Delivery to  and including
                                                                                                including the
                                                                                                            the day
immediately
immediately preceding
                 preceding that Interest Payment Date).  Date). The amount of interest payable with respect
to any Bonds on any Interest Payment Date shall be computed (a) during Weekly Rate Periods,                 Periods,
Index Floating Rate Periods or Flexible Rate Periods, on the basis of aa 365-
Index                                                                                       365- or 366-day
                                                                                                     366-day year,
whichever may be applicable,
                        applicable, for the number of days actually elapsed, and (b) during Fixed Rate
Periods, on the basis of a 360-day year of 12       12 30-day
                                                           30-day months.
                                                                   months.

                    are not held
        The Bonds are
        The                 held in aa book-entry system. When Bonds areare held  in aa book entry
                                                                            held in
system registered in the name of the Depository or its nominee, principal of and any premium on
those Bonds will be payable on the payment date therefor in immediately available funds wired
                to the
    the Trustee to
by the                                    (the Depository or
                   the registered owner (the              or its nominee), and  interest on
                                                                            and interest  on those
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Bonds will be payable on each each Interest Payment Date
                                                       Date in immediately available funds wired by
the Trustee
the  Trustee toto the
                  the registered
                       registered owner    (the Depository
                                   owner (the   Depository oror its
                                                                 its nominee) as      the Record
                                                                                as of the Record Date
applicable to that
                that Interest Payment    Date. If and
                              Payment Date.            ,to the extent, however, that the
                                                    and.to                             the Commission
                                                                                           Commission
shall      to make
shall fail to  make payment         provision for payment
                      payment or provision          payment of interest
                                                                 interest on
                                                                          on any
                                                                             any Bond
                                                                                  Bond on any Interest
Payment Date, that interest
                       interest shall cease to be payable to the Person who was the Holder of that
Bond (or of one or more Predecessor Bonds) as of the applicable
                                                             applicable Regular Record Date and shall
be  payable  to the Holder hereof at the close of business on a Special Record Date to be fixed by
the Trustee for the payment of that overdue interest.
                                                 interest. Notice
                                                           Notipe of such a Special Record Date shall
be mailed to Holders not less than ten days prior thereto:
                                                       thereto:i The principal of and interest and any
premium on this BondBond are    payable in lawful
                           are payable       lawful money of   the United
                                                            of-the  United States
                                                                            States of America, without
deduction
deduction for the services
                    services of the paying agent,
                                             agent.

         This Bond
         This   Bond isis one      the duly
                           one of the   dul-y auths 'c,110)Js           State
                                                                        Stdte' ofof Ohio
                                                                                    Ohio Higher
                                                                                          Higher Educational
                                                                                                  Educational
Facility Revenue
          Revenue Bonds (The Notre'Notre D.                   08         ct),  issuable
                                                                           ),,issuable  under, secured  by and
entitled to
entitled   to the
               the protection    givei,,
                    protection. given                        denture dated
                                                                         dqted as as of August 1,
                                                                                     of   August  l, 2008
                                                                                                      2008 as
supplemented, including by    by the                                ag'of
                                                               ted as   of June
                                                                             June 30,   2013 and
                                                                                    30, 2013       the Second
                                                                                              and the
Supplement
Supplement dateddated as
                      as of Februar
                              Feb               1 AL, lectively, the       "Trust Indenture"), between the
                                                                      the "Trust
Commission and   and the
                     the Trustee,
                           Trustee. aggr            in principal amount
                                                  , in             amount $20,000,000       (the "Bonds"), of
                                                                              $20,000,000 (the
which $19,090,000 remains outstandi , and issued at           at the request of The Notre Dame College
     "College"). The Bonds are issued
(the "College").                     iszued for-the
                                              for ttie purpose of providing
                                                                    providing funds to pay project costs as
defined inin Chapter
              Chapter 3377
                        3377 of the
                                  the Revfsed                 "Act"), including costs
                                                         (the "Act"),
                                                  Code (the
                                       Revised'Code                                                  to certain
                                                                                     costs relating to
educational facilities and sites thereof, consisting of (a) constructing, equipping, furnishing fumishing and
otherwise    improving two
otherwise improving        two new
                                new student
                                      student housing                  (b) renovating
                                                           facilities, (b)
                                                 housing facilities,         renovating andand improving the
existing campus dining hall and classroom remodeling in the main administration building and
library building,
         building, and (c) making routine
                                     routine capital expenditures to the Notre Dame College Campus,   Campus,
including
including construction of additional appurtenant parking and repairing and improving     improving sidewalks,
roofs, elevators, windows and other existing building structures (collectively,
                                                                            (collectively, the "Project"), and
for such other uses as are permitted by State law, including costs incidental thereto and the costs
of financing and refinancing thereof, to provide capitalized interest and to pay certain issuance
costs related to the Bonds.
                      Bonds. The Project is to be leased to the College pursuant to a Lease dated as
of August
of  August 1, 1, 2008    (the "Lease") between
                  2008 (the              between the  the Commission and  and thethe College,
                                                                                     College, an
                                                                                               an educational
institution as defined in Section 3377.01
                                      3377 .01 of the Revised Code.Code. Reference is hereby made to the
Trust Indenture for a more complete description of the provisions, among others, with respect to
the
the nature
     nature and
              and extent of the              for the
                               the security for    the Bonds,
                                                        Bonds, the
                                                                 the rights,
                                                                     rights, duties andand obligations of the
Commission, the College, the Trustee and the Holders, and the terms and conditions upon which
the Bonds are issued and secured, to all of the provisions of which Trust Indenture, the Holder,
by the acceptance hereof, assents.

         Pursuant
         Pursuant to the Lease, the College has agreed to make payments in the amounts and at the
times
times necessary
        necessary toto pay
                       pay the
                             the principal of and
                                 principal of  and interest       any premium
                                                            and any
                                                   interest and                   (the "Bond
                                                                        premium (the   "Bond Service
Charges")
Charges") on the Bonds.
                    Bonds. In the Trust Indenture and the Assignment
                                                            Assignment of Rights under Lease dated
as of August 1, l, 2008, the Commission has assigned and granted a security interest to the Trustee
(i) in the Revenues (as defined in the Trust Indenture)
                                               Indenture) and (ii) all of the Commission's rights and
remedies under the Lease
                      Lease (except for the Unassigned Rights as defined in the Lease).
                                                                                     Lease). Payment
of the Bond Service Charges on the Bonds has been unconditionally
                                                          unconditionally guaranteed by the College
pursuant toto aa Guaranty
                 Guaranty Agreement
                           Agreement dated
                                        dated as of August
                                                    August 1,l, 2008, duly signed
                                                                             signed by the College in
favor of the Trustee for the benefit of the Holders
                                            Holders of the Bonds.
                                                            Bonds.
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        The
        The Bonds areare issued pursuant   to the
                                 pursuant to      laws of the
                                              the laws          State, particularly the
                                                           the State,               the Act, and toto a
resolution duly adopted by the Commission.
                                  Commission. The Bonds are special obligations of the State, and
the Bond Service Charges thereon are payable
the Bond                                                  from, and
                                           payable solely from,  and such payment
                                                                             payment is secured by a
pledge of and lien on the Revenues,
                           Revenues, as defined and as provided for in the Trust Indenture (being,
generally,  the money
generally, the           and investments
                 money and     investments held   in and
                                            held in       for the
                                                      and for  the credit   of the
                                                                    credit of  the Special
                                                                                    Special Funds
                                                                                              Funds as
established by and as provided in the Trust
                                          Trust Indenture and rental payments, revenues and other
income, charges andand money derived by the Commission from    from the
                                                                      the lease,
                                                                          lease, rental,
                                                                                  rental, sale or other
                                                                                          sale or
disposition
disposition of the  Project). The Bonds are
                the Project).                 are special  obligations of
                                                  special obligations    of the
                                                                            the State
                                                                                 State issued
                                                                                        issued byby the
Commission and do not, and shall not, represent or constitute a debt or pledge of the faith
     credit of the
and credit
and              the Commission or   or the
                                        the State  or any
                                             State or  any political subdivision
                                                                       subdivision thereof, andand the
Holders have no right to have the General
                                       General Assembly
                                                 Assembly of the State or the taxing authority of
any             subdivision of
any political subdivision     of  the
                                  the State levy any
                                      State  levy  any taxes   or appropriate
                                                        taxes or   appropriate any any funds    for the
                                                                                        funds for
payment of thethe Bond              Charges. Rental payments sufficient for the prompt payment
                   Bond Service Charges.
when due of the Bond Service Charges are required by the Lease to be paid by the College to the
Trustee
Trustee for the
             the account
                  account of the
                              the Commission and and deposit&   in aa special
                                                     deposited'in     special account
                                                                              account created by by the
Commission and designated "Ohio Higher Higher Educational    atility Commission (The Notre Dame
                                               EducaliohalJarohity
College 2008 Project)                           bebndr{{\dgad,.for
               Project) Bond Fund," and have been-duly        dged for that purpose.
                                                                             purpose.


        rlexible
                         Provisions. The Bonds
        Interest Rate Provisions.             Boriis ' •     *Ad+t\(.stest at  Weekly Rates, Index Floating
                                                                           ai,W.eekly
                                        Rage;.deggp\Nrtprovlpd
Rates, Flexible Rates or the Fixed Rate.,/ciet                 prov       in tJfu'Slrust
                                                                                 Vfrust Indenture, from their
date or from the most recent Int_ st P                          to which
                                                                to          interest has
                                                                    which.interest.   has been    paid or
                                                                                           been.paid    or. duly
                                   goGvglq\[rd{ftelt}
provided for; provided that in nef:eV                e           rate     airy Bonds exceed the Maximum
                                                                      on any
                                                                 ratei6h-                            Maximum
Rate.
Rate. The Bonds may opera&operath,fij          e           e
                                                        $re • type  arate
                                                              ty.pp,$r'rate  period,
                                                                             period,  provided  that  all Bonds
shall operate in the
                   the same type
                               type'o
                                    oNa        e        fny.given     time. Initially, all
                                                           y siyen time.                 all Bonds shall bear
interest at      Initial Index
         at the Initial          Floatin$;',Rlfb4he
                         Index Floatin                  Initial
                                                     he Inittai
                                                        Iuitiat Index Floating Rate PeriodPeriod shall end on
December 31,3l,2}lg,subject
                2019, subject to continii4tion     as,Kovided in the Trust Indenture.
                                    contjrr$qliEfras-provided                   Indenture. The Bonds shall
bear interest during the Initial Index FielotingAtate
                                           flogti$g&ate Period at a per annum rate of interest equal to
                                              '   \;,8   -

the SIFMA
the  SIFMA Index       plus the
              Index plus          Initial IndeX\Floating
                             the Initial  Indel'Fioating Rate
                                                            Rate Spread,      provided that
                                                                    Spread, provided           if an
                                                                                         that if  an Event
                                                                                                       Event of
Taxability shall
Taxability   shall occur,   the Bonds shall
                    occur, the            shall thereafter
                                                 thereafter bear
                                                            bear interest     for each
                                                                   interest for   each day    at aa fluctuating
                                                                                         day at     fluctuating
interest rate per annum equal to the Taxable Rate for such day.       day. Reference is made to the Trust
Indenture for further provisions with respect to Initial Bank-Held Index Floating Rates.

        Subject  to the
        Subject to  the further
                        funher provisions of the
                                              the Trust
                                                  Trust Indenture,
                                                         Indenture, the
                                                                    the interest
                                                                        interest rate
                                                                                 rate for each
                                                                                          each rate
period shall be determined by the Remarketing Agent as provided in the Trust Indenture as the
           rate of interest which, in the judgment
minimum rate                              judgment of the
                                                        the Remarketing Agent,
                                                                          Agent, would cause the
           have aa market value
Bonds to have               value as
                                  as of the
                                        the date
                                            date of determination equal   to the
                                                                   equal to  the principal amount
                into account prevailing market conditions and whether interest on the
thereof, taking into                                                                   the series of
Bonds is excludable
          excludable from gross income for federal income tax purposes.
                                                                purposes.

       Each Interest Rate in effect for Bonds shall be available to registered or beneficial owners
on the
   the date
       date such Interest Rate is determined, by telephone, from the Remarketing
                                                                        Remarketing Agent or the
Trustee, upon request.

       Redemption of                  Maturity. The Bonds are
                    of Bonds Prior to Maturity.            are subject to redemption
                                                                          redemption prior to
the Maturity
the  Maturity Date, in accordance with
              Date, in            with the
                                       the terms
                                            terms and             of the
                                                      provisions of
                                                  and provisions          Trust Indenture,
                                                                     the Trust  Indenture, as
follows:
follows:

                Rate. Upon the occurrence of any Event of Default, the Bonds shall bear interest
        Default Rate.
        Default
at the Default Rate as and in the manner described in the Trust Indenture.
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                               During Weekly
         Optional Redemption During     lYeekly Rate or Flexible       Periods. Bonds that bear
                                                        Flexible Rate Periods.
interest  at Weekly
interest at  Weekly Rates  or Flexible Rates
                     Rates or            Rates are
                                               are subject to redemption and
                                                   subject to                            prior to
                                                                           and payment prior
maturity, upon the written direction of the Borrower to the Issuer and the Trustee, in whole or in
part, in Authorized Denominations,
                    Denominations, on any Interest Payment Date, at a redemption
                                                                        redemption price equal to
100%
 100% of the principal amount redeemed, plus interest accrued to the redemption
                                                                     redemption date.
                                                                                 date.
                                                               '' '*r.

        Optional
        Optional Redemption     During Fixed
                   Redemption During      Fixed Rate
                                                  Rate Period.      Bonds that bear interest at Fixed Rates
                                                        Period.-Bqn$s
also are subject to redemption
                    redemption   and  payment    prioi
                                                 prior  to  C.
                                                        to4ptS[ty
                                                               • t ty after the First Optional Redemption
                                                                                                 Redemption
Date  in whole
Date in   whole onon any
                     any Business DayDay    or in
                                            or-in  p.      •         ntefest
                                                                     ntefe$t Payment
                                                                              Pavment   Date
                                                                                        Date  in
                                                                                              in  Authorized
Denominations, upon the written:.-direct                                 torthe
                                                                     er to, the Issuer
                                                                                Issuer and
                                                                                        and the Trustee,
                                                                                                  Trustee. in
accordance with an option# iedemp                      C , incc\ling   ing i'edemption
                                                                            rbdemption dates     and prices,
                                                                                          dates and
determined in accordance vs)tth                  0          rust Indentur,     plus interest
                                                                   Indenture, plus  interest accrued toto the
              date. Further,
redemption date.
redemption            Further, if,        y             i the.             "are
                                                              the, Bonds `are Outstanding, an   an Event
                                                                                                    Event of
Taxability has occurred,
                 occuned, the Bon              be ject .Io'6ptional
                                                             to optional redemption by the Issuer, at the
direction of the Borrower, at a cede            price.equal
                                                pricg,,ediial to 100%
                                                                   100% of the principal amount of Bonds
Outstanding
Outstanding   plus accrued interest  _to,but not including the redemption
                           interesi'lo;'bu:;p_Otirroluding         redemption date.

        Optional               Duriigan Index Floating
        Optional Redemption During-an                            Period. Bonds bearing interest at
                                                  Floating Rate Period.
an Index Floating Rate may be redeemed by the Issuer at the direction of the Borrower, in whole
or in part on any Interest Payment Date upon ten days prior notice, or if such Interest Payment
Date is not a Business
              Business Day, on the next succeeding
                                          succeeding Business
                                                      Business Day, at a redemption
                                                                         redemption price equal to
the principal thereof, plus accrued interest to, but not including, the redemption date; provided
that any such redemption
               redemption in part shall be in Authorized Denominations. Such notice shall not be
required in respect of optional redemptions made pursuant
                                                   pursuant to the Master Covenant Agreement.
                                                                                    Agreement.

       No Mandatory Sinking Fund Redemption.
                                         Redemption. The
                                                      The Bonds are not subject
                                                                are not         to mandatory
                                                                        subject to
sinking fund redemption
             redemption prior to their scheduled maturity.

        Mandatory Redemption Upon Demand by a Bank.       Bank. If a Letter of Credit has been issued
to the
to the Trustee as
                as security for the
                                  the Bonds, the
                                               the Bonds are
                                                           are subject to mandatory redemption at   at a
redemption
redemption price equal to the principal amount thereof
                                                    thereof plus accrued interest to, but not including,
the redemption
    redemption date in whole or in part, without premium, at the earliest date for which notice of
redemption cancan be   given upon
                  be given    upon receipt   by the
                                    receipt by  the Trustee      written notice
                                                     Trustee of written          from aa Bank,
                                                                          notice from     Bank, if any,
requesting such redemption,
                 redemption, specifying the principal amount of the Bonds to be redeemed (if less
than all of the Bonds Outstanding
                         Outstanding are to be redeemed) and stating that (i) an "event of default"
                                                                                                default"
under and
under  and asas defined
                defined inin any
                             any Reimbursement
                                   Reimbursement Agreement
                                                     Agreement then    in effect
                                                                  then in  effect has
                                                                                  has occurred
                                                                                       occurred and
                                                                                                  and is
continuing, or (ii) it holds as the registered
                                    registered or beneficial owner Bonds purchased
                                                                            purchased by such Bank in
accordance
accordance with the Trust Indenture and not remarketed.
                                                 remarketed.

        Mandatory Redemption Upon Event of Taxability                                Period. When
                                                    Twcability During Fixed Rate Period.
any Tax-Exempt Bond bears interest at                                     Fked Rate Bonds"), such
                                                         ("Tox-Exempt Fixed
                                        at a Fixed Rate ("Tax-Exempt
Tax-Exempt Fixed Rate Bonds are subject to mandatory redemption              redemption price equal
                                                            redemption at a redemption
to the principal amount thereof
                         thereof plus accrued interest to, but not including, the redemption
                                                                                  redemption date in
whole   (or
whole (or in  part as provided  below), without premium, on the first day of a month that is not
later than
later than 90
            90 days
               days after
                     after the
                           the Trustee receives written notice of an an Event     Taxability. If the
                                                                        Event of Taxability.
redemption
redemption of fewer than all of the Tax-Exempt
                                     Tax-Exempt Fixed Rate Bonds would, in the opinion of Bond
Counsel, result in the interest on the Tax-Exempt Fixed Rate Bonds outstanding following such
             not being
redemption not                      in the
                  being includable in  the gross           for federal
                                            gross income for                    tax purposes of the
                                                               federal income tax
holders of such Tax-Exempt Fixed Rate Bonds Outstanding,
                                                    Outstanding, then fewer         all of the
                                                                        fewer than all     the Bonds
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may
 maybe    redeemed ininthe
       beredeemed                    specifiedininsuch
                             amountspecified
                         theamount                                 providedthat
                                                         opinion, provided
                                                   suchopinion,              thatsuch                must
                                                                                       redemption must
                                                                                  suchredemption
 beininAuthorized
be                   Denominations. IfIffewer
       Authorized Denominations.         fewerthan
                                               thanall   Tax-ExemptFixed
                                                     allTax-Exempt     FixedRate   Bondsare
                                                                              RateBonds       redeemed,
                                                                                          areredeemed,
the
 theTrustee    shallselect
      Trustee shall         theTax-Exempt
                     selectthe                FixedRate
                                Tax-Exempt Fixed           Bondsto
                                                     RateBonds      tobe
                                                                       beredeemed
                                                                          redeemedas    provided ininthe
                                                                                     asprovided        the
 TrustIndenture
Trust   Indentureor orby
                       bysuch
                           suchother  methodacceptable
                                othermethod    acceptableto tothe
                                                               theTrustee    as may  be  approved
                                                                    Trustee as may be approved in anin  an
Opinion
 Opinionof    BondCounsel.
           ofBond    Counsel.

                    RedemptionUpon
         Optional Redemption
        Optional                     Uponthe theOccurrence
                                                   Occurrence of   ofCertain
                                                                       Certain Events           Affecting the
                                                                                      EventsAffecting       theProject.
                                                                                                                 Project.
 TheBonds
The   Bondsare     subjectto
               aresubject        redemption, inin whole
                             toredemption,          wholeor  orininpart,
                                                                    part, atataaredemption           priceequal
                                                                                      redemption price      equaltotothe
                                                                                                                      the
 principal amount
principal   amount thereof    plusaccrued
                     thereof plus   accruedinterest      to,but
                                               interest to,       notincluding,
                                                             butnot   including, the    theredemption      date, without
                                                                                             redemption date, without
 premium, on
premium,     on the
                 theearliest          for which
                                datefor
                      earliest date       whichnotice
                                                    notice ofof redemption
                                                                 redemption can           begiven
                                                                                     can be           to the
                                                                                               given to   theextent
                                                                                                              extent the
                                                                                                                      the
 Borrower has
Borrower     has exercised
                  exercisedits itsoption
                                   option toto make.
                                                 make prepay              under the
                                                                     ts, under              Note pursuant toto certain
                                                                                       the Note     pursuant      certain
 extraordina  ry events  described   in the  tease.
extraordinary events described in the Lease. Wh                           of   Credit     is  in effect, the redemption
                                                                      er of Credit is in effect, the redemption
 priceof
price  ofthe
          theBonds
               Bonds totobe
                          beredeemed       put
                              redeemed purSu                         ction shallshallbe  bepaid    from monies
                                                                                             paid from            drawn
                                                                                                          monies drawn
                                                                            i:i. '
under              Letter of  Credit,
 underany such Letter of Credit.
        any  such                                                                     ,


                                                                             ,1ir',,



          Purchase in
         Purchase         in Lieu
                             Lieu of of                              Bonds are'Subject
                                                                    Bonds     are'subject to to mandatory
                                                                                                mandatory redemption
                                                                                                              redemption
 pursuant
pursuant to   to the preceding p
                  the    preceding                            ned "Mandatory         Redemptio     n  Upon
                                                                    ifMandatory Redemption Upon Demand by    Demand        by
 Bank," and
Bank,"            "Mandatory Redd
           and"Mandatory                              Upon Event
                                                     Upon     E_vent ofof Taxability
                                                                           Taxability During       Fixed Rate
                                                                                         During Fixed             Period,"
                                                                                                           Rate Period,"
 Bonds   paid   with     funds   provided,by  -Tfi'e  Borrower,    or  paid  from     draw
Bonds paid with funds provided by e Borrower, or paid from a draw or claim under any Letter
                                                                                    a        or  claim   under  any   Letter
 of Credit
of  Credit then
             then in in effect   or otherwise
                         effect or                paid:by
                                    otherrryise;paid        or on
                                                        by or   on behalf
                                                                   behalf ofof aaBank,
                                                                                  Bank,shall
                                                                                          shall be   purchased in
                                                                                                be purchased     in lieu   of
                                                                                                                     lieu of
 redemption     on    the  applicable   rede-rnption      date at a  purchase    price  equal
redemption on the applicable redemption date at a purchase price equal to the principal amount to  the  principal  amount
           plus accrued
 thereof, plus
thereof,                        interest thereon
                    accrued interest      thereon to  to but   not including
                                                           but not   including thethe date
                                                                                       date ofof such    purchase, ifif the
                                                                                                  such purchase,          the
Trustee
 Trustee has
          has received           written request
                received aa written       request on     or before
                                                     on or   before said   purchase date
                                                                      said purchase          from the
                                                                                       date from         Borrower or
                                                                                                     the Borrower     or the
                                                                                                                          the
 Bank, as
Bank,    as the
             the case
                  case maymay be,                   that the
                                      specifying that
                                 be, specifying                          provided or
                                                               moneys provided
                                                          the moneys                     to be
                                                                                     or to      provided by
                                                                                            be provided     by such    party
                                                                                                                such party
shall
 shall be
       be used
           used to to purchase     Bonds in
                       purchase Bonds       in lieu
                                                lieu of  redemption.
                                                     of redemption.

          Notice of
         Notice           Redemption. The
                     of Redemption.          The Trustee
                                                    Trustee shallshall send     notice of
                                                                          send notice    of each
                                                                                              each redemption
                                                                                                      redemption to     to each
                                                                                                                            each
 Bondholder whose
Bondholder                 Bonds are
                  whose Bonds           being redeemed,
                                    are being     redeemed, the    the Borrower,
                                                                        Borrower, the      Remarketing Agent
                                                                                     the Remarketing          Agent and and the
                                                                                                                              the
 Bank, ifif any,
Bank,       any, byby first-class   mail at
                       first-class mail       least thirty
                                          at least             (30) days
                                                     thirty (30)                 not more
                                                                            but not
                                                                     days but        more than      sixty (60) days
                                                                                             than sixty     (60)          before
                                                                                                                   days before
each                     provided, however,
       redemption; provided,
 each redemption;                    however, in   in the
                                                       the case
                                                              case ofof aa mandatory    redemption, the
                                                                           mandatory redemption,           the Trustee
                                                                                                                Trustee shall
                                                                                                                            shall
 give notice
give   notice ofof such    redemption at
                    such redemption      at least   two (2)
                                             least two      (2) Business           prior to
                                                                             Days prior
                                                                 Business Days             to the   redemption date.
                                                                                               the redemption        date. The
                                                                                                                             The
notice
 notice shall    identify the
         shall identify     the Bonds
                                Bonds or     portions thereof
                                         or portions       thereof to to be
                                                                         be redeemed
                                                                             redeemed and        shall state
                                                                                         and shall             (i) the
                                                                                                        state (i)   the type   of
                                                                                                                         type of
redemption
 redemption and        the redemption
                 and the    redemption date,        (ii) the
                                           date, (ii)                          price,  (iii)
                                                                redemption price, (iii) that
                                                          the redemption                      that the
                                                                                                     the Bonds
                                                                                                          Bonds called        for
                                                                                                                     called for
 redemption must
redemption       must be     surrendered to
                         be surrendered     to collect
                                                collect the       redemption price,
                                                            the redemption               (iv) the
                                                                                 price, (iv)    the address
                                                                                                     address at      which the
                                                                                                                 at which     the
Bonds
 Bonds must
          must be be surrendered,    (v) that,
                      surrendered, (v)           if on
                                          that, if   on the
                                                          the redemption
                                                                redemption date           Bond     Fund
                                                                                     the Bond Fund contains
                                                                               date the                    contains moneys
                                                                                                                        moneys
sufficient
 sufficient toto pay
                  pay the                  price, interest
                            redemption price,
                       the redemption               interest on on the    Bonds called
                                                                     the Bonds             for redemption
                                                                                  called for     redemption will will cease
                                                                                                                       cease toio
accrue
 accrue onon the    redemption date,
               the redemption            (vi) the
                                  date, (vi)    the CUSIP
                                                      CUSIP numbernumber of of the   Bonds and
                                                                                the Bonds           (vii)
                                                                                              and (vii) any      condition to
                                                                                                           any condition       to
      redemption. Anything
the redemption.
the                      Anything to to the
                                         the contrary
                                                contrary aboveabove notwithstanding          written notice
                                                                        notwithstanding written          notice of of optional
                                                                                                                       optional
redemption
redemption shall shall be   given ten
                        be given       (10) days
                                   ten (10)           prior to
                                               days prior      to any               redemption of
                                                                         proposed redemption
                                                                   any proposed                      of Bonds held by
                                                                                                         Bonds     held   by the
                                                                                                                             the
Registered
Registered Owner.
                Owner.

        Failure by the
        Failure by  the Trustee     give any
                                 to give
                        Trustee to                    of redemption
                                               notice of
                                         any notice                   or any
                                                          redemption or   any defect in such
                                                                              defect in       notice as
                                                                                        such notice     to
                                                                                                     as to
     particular Bonds
any particular
any             Bonds shall   not affect
                        shall not          the validity of
                                    affect the            of the      for redemption
                                                                 call for
                                                             the call      redemption ofof any
                                                                                           any Bonds
                                                                                                 Bonds inin
respect  of which
respect of         no such
            which no        failure or
                       such failure  or defect  has occurred.
                                        defect has               Any notice
                                                     occurred. Any            mailed  as provided   in
                                                                       notice mailed as provided in thethe
Trust Indenture
Trust                       conclusively presumed
                         be conclusively
                  shall be
       Indenture shall                      presumed to  to have        given whether
                                                                  been given
                                                            have been           whether oror not
                                                                                             not actually
                                                                                                  actually
received by any
             any holder.

       Optional Tender of    Bonds. Bonds accruing interest at
                          of Bonds.                                           may be
                                                              at Weekly Rates may  be tendered
                                                                                      tendered
for purchase,
for           at the
    purchase, at             of the
                     option of
                 the option     the owners thereof at
                                    owners thereof,       purchase price equal to
                                                    at aa purchase price equal to one hundred
                                                                                  one  hundred
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        (100%) of
percent (100%)
percent          of the
                     the principal
                          principal amount
                                      amount of  of such   Bonds (or
                                                      such Bonds     (or portions  in Authorized
                                                                          portions in
Denominations)
Denominations) plus accrued interest, if any, to the purchase date, as follows:

        Optional Tender Dates.
                          Dates. The owners of Bonds (or the beneficial owners of Bonds held in
aa Book-Entry System through their direct Participants) accruing interest
                                                                     interest at Weekly Rates
                                                                              at Weekly Rates may
elect  to have
 elect to         their Bonds
          have their    Bonds or or beneficial
                                     beneficial interests   (or portions
                                                  interests (or  portions thereof   in Authorized
                                                                           thereof in
 Denominations) purchased on any Business Day upon   upon Electronic Notice of tender given to the
Trustee not later than 3:00 p.m., New York City time, on a Business Day at least seven (7) days
(but not more than thirty (30) days) prior to the purchase
                                                  purchase date.
                                                           date.

        Bondholder
        Bondholder Notice
                   Notice of
                          of Optional Tender.
                                      Tender. Each notice of tender:
                                                             tender:

       (l) shall be delivered by the bondholder (or
       (1)                                                       the Bonds are are held under the Book-
Entry System,
      System, by the beneficial owner through  its PPad
                                      through.'its                ttin
                                                                     in the Securities Depository) to the
Trustee and the Remarketing Agent at their n                     s (as herein provided) and shall be in
form satisfactory
     satisfactory to the Trustee;

        (2) shall
        (2)     shall state (A)::th
                      state (A)                            of Bonds or beneficial
                                                                         beneficial interest   (or portion
                                                                                     interest (or
thereof in Authorized Denomina
                         Denomi                        d red,     ihat'the
                                                           d, (B) that the owner
                                                                            owner irrevocably demands
purchase of such Bonds or benefic
                              be               res (or
                                                     or portion thereof in Authorized
                                                                            Authorized Denominations)
                                                                                         Denominations)
to be tendered, (C) the
to                    the date
                           date on whi
                                    wh      such    Bonds'or
                                              uc-tr Bonds  or beneficial interest (or portion thereof in
                                                                         interest (or
Authorized Denominations) to
Authorized                      to be ,1en{ered
                                       tendered is     to be
                                                    is to be purchased, and    (D) the
                                                                           and (D)                  of the
                                                                                          identity of
                                                                                     the identity
Participant through which the beneficial
                                  bene-fi,cial owner maintains its interest
                                                                     interest and  payment instructions
                                                                              and payment     instructions
with respect to the purchase
                    purchase price; and

         (3) shall
         (3)     shall automatically
                        automatically constitute   (A) an
                                        constitute (A)  an irrevocable
                                                             irrevocable offer  to sell
                                                                          offer to  sell the
                                                                                         the Bonds
                                                                                                Bonds or
beneficial interest (or portion thereof) to which the notice relates on the purchase date date or Index
Floating Rate
Floating    Rate Purchase      Date, as
                  Purchase Date,      as applicable,   at the
                                          applicable, at   the purchase
                                                                 purchase price,   (B) an
                                                                           price, (B)   an irrevocable
                                                                                              irrevocable
authorization and
                and instruction to the Trustee to effect transfer of such Bonds (or, in the case of
Bonds tendered pursuant to (a)(1) above, portion thereof)
                                                      thereof) upon payment of the purchase price to
the Trustee on the purchase date, (C) an  an agreement of such owner (or beneficial owner through
its participation in the Securities Depository) to make arrangements
                                                            arrangements to deliver and transfer such
Bonds or or beneficial
             beneficial interest                  with all
                        interest being tendered, with   all necessary
                                                             necessary endorsements forfor transfer
                                                                                            transfer and
signature guarantees, by delivery to the Trustee at   at its designated payment office notnot later than
11:00
 I 1:00 a.m., New York City time, on the purchase date, or by causing causing its direct Participant to
transfer
transfer its interest in the Bonds equal to to such beneficial owner's interest on the
                                                                                     the records of the
Securities Depository to  to the participant account of the Trustee or its agent with the the Securities
Depository, and (D) an acknowledgment
                           acknowledgment that such owner will have no further rights with respect
to such Bonds (or, in the case of Bonds tendered pursuant to (a)(1) (axl) above, portion thereof) upon
payment of the purchase price thereof
                                  thereof to the Trustee on the purchase date or Index Floating Rate
Purchase Date, as applicable, except for the right of such owner to receive such purchase price
upon delivery of such Bonds to the Trustee, and that after the purchase date or Index Floating
Rate
Rate Purchase
       Purchase Date,
                  Date, as
                         as applicable, such
                                         such owner
                                               owner will hold
                                                            hold any undelivered bond
                                                                                    bond certificate as
agent for the Trustee.
               Trustee.

        The
        The determination of the
                               the Trustee
                                   Trustee as  to whether aa notice
                                            as to            notice of tender
                                                                       tender has
                                                                              has been
                                                                                  been properly
delivered
delivered pursuant to the foregoing shall be conclusive
                                             conclusive and binding upon the owner.
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          While the
         While     the Book-Entry
                         Book-Entry System
                                       System isis inin effect,
                                                         effect, on
                                                                  on the
                                                                      the same
                                                                           same date
                                                                                   date asas delivery
                                                                                             delivery of of the
                                                                                                             the notice
                                                                                                                 notice
described
 described above,
             above, aa beneficial
                         beneficial owner
                                     owner shall
                                              shall also
                                                     also require
                                                           require its
                                                                    its Participant
                                                                        Participant inin the
                                                                                          the Securities
                                                                                              Securities Depository
                                                                                                            Depository
 to deliver
to   deliver toto the
                   the Securities
                         Securities Depository
                                     Depository aa notice
                                                       notice irrevocably       instructing itit to
                                                                irrevocably instructing           to transfer
                                                                                                      transfer onon the
                                                                                                                     the
registration
 registration books
                books of of the
                             the Securities   Depository the
                                 Securities Depository             beneficial ownership
                                                             the beneficial                   interests in
                                                                                ownership interests       in the
                                                                                                              the Bond
                                                                                                                  Bond
being
 being tendered
        tendered to to the
                        the account
                             account of
                                      of the
                                          the Trustee,
                                              Trustee, for
                                                         for settleme
                                                              settlemeq{on on  the
                                                                                the purchase
                                                                                    purchase    date
                                                                                                date  as
                                                                                                       as described
                                                                                                          described   in
                                                                                                                       in
clause
 clause (3)
         (3) above
              above onon aa"free
                            "free delivery"
                                  delivery" basis,
                                              basis, with
                                                      with aa cop              notice delivered
                                                                            hh notice  delivered to to the
                                                                                                        the Trustee
                                                                                                            Trustee onon
the
 the same


Day
      same date.
            date.

        Notice
         Notice by
 Day following
                  by Trustee.
      following the
                      Trustee. Not
                  the date
                       date of
                                 Not later
                            of receipt
                                      later i an
                                                             0     ew
                                                                   er,, the
                                                                                City
                                                                                 City time,
                                                                                       time, on
                                                                                              on the   first Business
                                                                                                  the first  Business
                                receipt                                  the Trustee
                                                                             Trustee shall    notify, by   Electronic
                                                                                        shall noti$, by Electronic
                                                                  -of
Notice,
 Notice, the
          the Remarketing
               Remarketing Agent,
                              Agent; th                       e of    Credit
                                                                      Credit isis in
                                                                                   in effect,
                                                                                      effect, and
                                                                                               and the
                                                                                                    the Borrower
                                                                                                         Bonower ofof
receipt  of such
 receipt of   such tender
                    tender notice,
                           notice, the
                                    the pn                  unt of Bonds     or  beneficial    interest  (or
                                                             nt of Bonds or beneficial interest (or portions portions
thereof)
 thereof) to
           to be
              be purchased
                 purchased and
                             and the
                                  the purcha
                                      purch

       Mandatory
        Mandatory Tender
                       Tender of of Bonds;
                                    Bonds;Notice.
                                              Notice. The
                                                      The Bonds
                                                           Bonds are
                                                                  are subject
                                                                       subject to
                                                                                to mandatory
                                                                                   mandatory tender
                                                                                                tender for
                                                                                                        for
purchase
purchase at
          at aa purchase
                purchase price
                             price equal
                                   equal to
                                          to one
                                              one hundred
                                                  hundred percent
                                                          percent (100%)
                                                                   (100%) ofof the
                                                                                the principal
                                                                                     principal amount
                                                                                               amount of of
such
 such Bonds,
      Bonds,   plus
               plus   accrued interest, if any, to the purchase date (each, a "Mandatory
                     accrued    interest, if any, to the purchase  date  (each,  a  "Mondatory Tender
                                                                                                   Tender
Date"),
Date"), on
        on the
            the earlier
                 earlier of:
                         of:

          (i) asas toto any
         (i)             any Index
                               Index Floating
                                       Floating Rate
                                                  Rate Bonds
                                                       Bonds oror Flexible
                                                                  Flexible Rate
                                                                            Rate Bonds,
                                                                                  Bonds, the
                                                                                          the day
                                                                                               day next
                                                                                                    next
succeeding
 succeeding the
             the last
                  last day
                       day of
                           of the
                               the then
                                    then current
                                         current Index
                                                 Index Floating
                                                       Floating Rate
                                                                Rate Period
                                                                     Period or
                                                                             or Flexible
                                                                                Flexible Rate
                                                                                         Rate Period,
                                                                                              Period, as
                                                                                                      as
the
 the case
     case may
           may be;
               be;

          (ii)
         (ii)     as
                  as to
                      to any
                         any Bond,
                             Bond, on
                                   on any
                                      any Conversion
                                          Conversion Date
                                                     Date with
                                                          with respect
                                                               respect to
                                                                        to such
                                                                           such Bond;
                                                                                Bond;

         (iii) asas toto any
        (iii)            any Bond,
                              Bond, if  if aa Letter
                                              Letter of
                                                      of Credit
                                                         Credit is
                                                                 is then
                                                                     then inin effect,
                                                                               effect, on
                                                                                        on the
                                                                                            the Interest
                                                                                                lnterest Payment
                                                                                                          Payment Date
                                                                                                                    Date
which
which next
        next precedes
               precedes by by at
                               at least
                                    least fourteen
                                            fourteen (14)
                                                       (14) days
                                                            days the
                                                                   the stated
                                                                          stated expiration
                                                                                  expiration or or termination
                                                                                                   termination date    of
                                                                                                                  date of
such
 such Letter
      Letter ofof Credit
                   Credit or,or, ifif such
                                       such Interest
                                               Interest Payment      Date    is  not  a  Business    Day,
                                                         Payment Date is not a Business Day, on the next   on  the  next
succeeding
succeeding Business
               Business Day,Day, unless
                                     unless by by the
                                                    the 20th
                                                         20th day
                                                               day prior      to such
                                                                       prior to   such Interest
                                                                                         Interest Payment
                                                                                                    Payment Date
                                                                                                               Date the
                                                                                                                      the
Borrower
Bonower provides
            provides to to the
                           the Trustee,
                                Trustee, and  and the
                                                   the Trustee
                                                        Trustee has
                                                                has accepted,
                                                                        accepted,   (l)
                                                                                    (1) evidence    that such
                                                                                         evidence that such Letter of
                                                                                                               Letter  of
Credit
Credit has
        has been
              been extended
                   extended or  or (2)(2) aa Substitute
                                              Substitute Letter
                                                           Letter of
                                                                   of Credit
                                                                        Credit toto be
                                                                                    be effective
                                                                                        effective onon or
                                                                                                       or prior
                                                                                                           prior to
                                                                                                                 to such
                                                                                                                    such
Interest
Interest Payment
          Payment Date       in which
                       Date in   which event event aa mandatory
                                                       mandatory tender
                                                                      tender shall
                                                                                shall occur
                                                                                      occur inin accordance
                                                                                                  accordance with
                                                                                                                with the
                                                                                                                      the
terms
terms of
       of Section
          Section 2.07(a)(iii)
                    2.07(aXiii) of   of the
                                        the Trust
                                              Trust Indenture;
                                                     Indenture;

       (iv) asas toto any
       (iv)           any Bond,
                           Bond, onon the
                                      the effective
                                           effective date
                                                     date of
                                                          of any
                                                             any Substitute
                                                                 Substitute Letter
                                                                            Letter of
                                                                                   of Credit
                                                                                      Credit delivered
                                                                                             delivered
pursuant to
         to Section
            Section 13.03
                      13.03 of
                            of the
                               the Trust
                                    Trust Indenture;
                                          Indenture; and
                                                      and

        (v) asas toto any
       (v)             any Tax-Exempt
                            Tax-Exempt Bond Bond that
                                                    that bears
                                                          bears interest  at aa Weekly
                                                                interest at     Weekly Rate,Rate, anan Index
Floating Rate
         Rate or
               or aa Flexible
                     Flexible Rate,
                                Rateo on
                                       on the
                                          the first
                                              first Interest
                                                    Interest Payment Date
                                                                       Date that
                                                                              that is
                                                                                   is at
                                                                                      at least
                                                                                          least fifteen
                                                                                                fifteen (15)
                                                                                                         (15)
days
days following the
                 the Trustee's
                      Trustee's receipt    of notice of an Event of Taxability from the
                                   receipt of notice   of an  Event  of  Taxability   from   the   Borrower
pursuant  to the
pursuant to  the Lease,   or ifif such
                  Lease, or       such Interest
                                        Interest Payment
                                                 Payment DateDate is
                                                                  is not
                                                                     not aa Business
                                                                            Business Day,Day, on
                                                                                               on thethe next
succeeding
succeeding Business Day.

        The
        The Trustee shall
                     shall send
                            send to
                                 to the
                                    the holders
                                        holders of Bonds
                                                    Bonds subject
                                                          subject to
                                                                   to mandatory tender
                                                                                   tender and
                                                                                          and to
                                                                                              to the
Remarketing
Remarketing Agent, thethe Bank, if any,
                                    any, and the
                                         and the Borrower  a Notice
                                                           a Notice  of  Mandatory   Tender  at
                                                                                             at least
fifteen
fifteen (15)      (thirty (30)
        (15) days (thirty (30) days for Mandatory Tender Dates occurring in    in connection with aa
Fixed Rate
Fixed   Rate Conversion
              Conversion Date;            (60) days
                                   sixty (60)
                            Date; sixty        days  for
                                                     for Mandatory
                                                         Mandatory Tender Dates
                                                                      Tender    Dates occurring
                                                                                       occurring in
connection with aa conversion
                   conversion from an an Index Floating Rate; ten
                                                              ten (10)  days for Mandatory Tender
                                                                  (10) days
Dates occurring in connection with the occurrence of an Event of Taxability) but not more than
seventy-five (75) days (nineteen (19) days in the case of a mandatory tender pursuant to Section
seventy-five
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                          Indenture) before the Mandatory Tender Date, except that no such Notice
             of the Trust Indenture)
2.07(a)(iv) of
will be given to holders of Flexible Rate Bonds if the mandatory tender is being made pursuant
                                     Indenture. Any Notice of Mandatory Tender will be given by
            2.07(aXi) of the Trust Indenture.
to Section 2.07(a)(i)
                              substantially in the form attached to the Trust Indenture as Exhibit C.
first-class mail and will be substantially
first-class
If the mandatory tender is made in connection with a change to an Alternate Rate, the Notice of
Mandatory Tender shall include the applicable information required by Section 2.07(e). If the
mandatory tender is made in connection with a change i t
mandatory                                                         nterest Rate determination
                                                                                determination method
                    Altemate Rate), the Notice of
(other than to an Alternate                                              shall include the applicable
                                                                   ender shall              applicable
information required by Section 2.07(c).
information

       With respect to any Bonds t
                                                      fo  ich have            presented for purchase
                                                              hafe not been presented
within sixty
within sixty  (60)
              (60) days  after
                   days after  the       ator          r   ate, the
                                                                the  Trustee,
                                                                     TruStee, at the
                                                                              at the expense
                                                                                     expense of the
Borrower, shall send a second notice              = the holder of any such Bonds which have not
been
been  presented  for
                 for purchase,  by first s
                                by             mail,   within thirty  (30) days of the
                                                              thirty (30)                    of such
                                                                                        end of
                                                                                    the end
                          nineteen (19) day) period.
seventy-five (75) day (or nineteen            period.'

       Limitations on Tenders.
       Limitations                    Holders or Beneficial Owners shall not have the right or be
                        Tenders. The Holders
                                              Bond for purchase on an optional tender date
required, as the case may be, to tender any Bond                                         date or a
Mandatory Tender
Mandatory                  if on
                     Date if
             Tender Date      on such  date aa Letter
                                 such date            of Credit
                                               Letter of Credit is in effect and,
                                                                is in effect and,  following   the
                                                                                 of premium, if
occunence of an Event of Default, the Trustee shall have declared the principal of,
occurrence                                                                                       if
any, and
any,  and interest  on the Bonds to be immediately due and
           interest on the  Bonds  to be immediately    due and  payable
                                                                 payable  pursuant
                                                                          pursuant  to
                                                                                    to  the
                                                                                        the  Trust
Indenture.
Indenture.

       Holders or Beneficial Owners of Bonds called for redemption or mandatory tender shall
                                                     Remarketing Agent) to tender such Bonds for
                   (without the prior consent of the Remarketing
not have the right (without
                                  date if such optional tender date will occur on or after the
purchase on an optional tender date                                                        the 10th
                                                                                                10th
                                redemption or mandatory tender.
day prior to the date fixed for redemption                           Notwithstanding the foregoing,
                                                            tender. Notwithstanding      foregoing,
        or Beneficial
holders or  Beneficial Owners of Bonds called for redemption shall  shall not have the right
                                                                              have the       in any
                                                                                       right in
event to tender such Bonds for purchase on an optional tender date if such optional tender date
will occur on or after the second day prior to the date fixed for redemption.
                                                                  redemption.

       Except as as provided   in the
                     provided in      Trust Indenture,
                                  the Trust  Indenture, the
                                                          the Holders are  not entitled
                                                                       are not           to enforce
                                                                               entitled to  enforce the
provisions of
provisions    of the
                 the Trust
                      Trust Indenture
                             Indenture or   to institute,
                                        or to   institute, appear  in or
                                                           appear in  or defend         suit, action
                                                                                  any suit,
                                                                          defend any           action or
proceeding to enforce any provisions of the Trust Indenture or to take any action with respect to
                                       Indenture. The Trust Indenture permits certain amendments
any event of default under the Trust Indenture.                                            amendments
or supplements to the     Lease and the Trust Indenture not prejudicial to the Holders to be
                     the Lease                                                                  be made
without the
         the consent of or notice to thethe Holders, and other amendments or supplements to the
Lease
Lease and
       and the
             the Trust
                 Trust Indenture   to be
                        Indenture to  be made with the the consent
                                                            consent of the              not less
                                                                       the Holders of not    less than
                                                                                                  than a
majority
majority  in aggregate  principal
                        principal amount  of  the Bonds   then outstanding.

                    shall not constitute the personal obligation, either jointly or severally, of the
        The Bonds shall
members of the
members       the Ohio   Higher Educational Facility Commission or
                  Ohio Higher                                         or its
                                                                         its officers,
                                                                             officers, employees or
                         future. The Bonds shall not be entitled to any security or benefit under
agents, past, present or future.
the
the Trust
    Trust  Indenture
            Indenture  or
                      or  become valid
                          become          or obligatory
                                   valid or              for any
                                             obligatory for   any purpose    until the
                                                                  purpose until    the certificate
                                                                                        certificate of
authentication hereon shall have been signed by the Trustee.
authentication                                        Trustee.

                                         all acts
       It is certified and recited that all       and conditions necessary to be performed by the
                                             acts and
                                    precedent to and in the issuing of the Bonds in order to make
Commission or to have been met precedent
them
them legal,  valid
             valid  and
                    and binding  special
                                 special                 the Commission in accordance with their
                                         obligations of the
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terms, and precedent to to and in the signing and delivery of the Trust Indenture and Lease, have
been  performed  and  have  been met in regular and due form as required by law; that payment in
full for
full for the
          the Bonds
              Bonds has     been received; ,and
                       has been              and that
                                                 thqg the,
                                                       the; Bonds
                                                            Bonds do  not exceed
                                                                   do not          or violate
                                                                           exceed or  violate any
constitutional or statutory limitation.
                            limitation". ,,
                                                "fl.         i\



            IN WITNESS WHEREOF, t                        o, by'the
                                                             by'lhe                 Bducational Facility
                                                             by lhe Ohio Higher Educational     Facili
Commission,
Commission, has
              has caused this
                            .this Bo               d i      nane,  in their
                                                            narne in                             by the
                                                                       their official capacities by
facsimile
facsimile signatures of     Clgit
                        the Chair
                     orf.Se                                 ru,t#sioh. all as of the date shown above.
                                                  of the omrogsion,                              above.

                                                    .r'
                                                         OHIO, by the OHIO HIGHER
                                                STATE OF OHIO,
                                              .:.$TATE
                                            '-:,"' EDUCATIONAL
                                           J.
                                                                FACILITY COMMISSION
                                                   EDUCATIONAL FACILITY




                                                 By:
                                                        -Dcl.-
                                                                         Chair



                                                 By:
                                                                       Vice Chair
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                                             AUTHENTICATION
                                   FICATE OF AUTHENTICATION
                                 TIFICATE
                             v    .. .,'' ,l

                             the'BOnds described
                        e of theacinas                        Indenrure described above.
                                       described in the Trust Indenture

                                                       U.S. Bank National Association
                                                            Bank National Association
                                                                 Truste

                                                       By:
                                                                  Vice President


                           registration: February
Date of authentication and registration: Febr,ro,c        y 28,2017
                                                            28 ,20t7

Registrable at and Payable by:                 U.S. Bank National Association
                                                    Bank National
                                               Cleveland, Ohio



                                               ASSIGNMENT

            value received,
       For value
       For                                                 and transfers
                            the undersigned sells, assigns and
                  received, the                                           to (print or
                                                                transfers to         or typewrite
nrune, address,
name,           zip code
       address, zip  code and          Security number
                                Social Security
                          and Social            number or other                       number of
                                                                   tax identification number
                                                            other tax
Transferee)

this Bond and irrevocably constitutes and appoints
attomey to transfer this Bond on the Register, with full power of substitution in the premises.
attorney                                                                              premises.

Dated:

Signature Guaranteed:
Signature



Notice: The
Notice: The assignor's signature
                       signature toto this            must correspond
                                      this assignment must            with the
                                                           conespond with  the name
                                                                               name as
                                                                                    as it
        appears upon the face of this Bond.



               this bond
       Unless this         is presented
                     bond is            by an
                              presented by     authorized representative of The Depository
                                            an authorized
                                            ("DTC"), to the Commission or the paying agent
Trust Company, a New York corporation ("DTC"),
                              exchange, or payment, and any bond issued is registered in the
for registration of transfer, exchange,
name of Cede & Co. or in such other name as is requested by an authorized representative
                                                                               representative
of DTC (and any payment is made to Cede & Co. or to such other entity as is requested by
an authorized
an  authorized representative of of DTC),  ANY TRANSFER,
                                    DTC), ANY                 PLEDGE' OR
                                                 TRANSF'ER, PLEDGE,       OR OTHER USE
HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL
                  registered owner hereof, Cede & Co., has an interest herein.
inasmuch as the registered
inasmuch                                                               herein.
